
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. WR-9,962-05






DAVID LEE FRANKS, Relator


v.


THE DISTRICT CLERK OF TARRANT COUNTY, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 15341 IN CRIMINAL DISTRICT COURT NO. 4

FROM TARRANT COUNTY





	The order was delivered per curiam.



O R D E R




	This is an original application for a writ of mandamus.

	Relator contends that he filed an application for writ of habeas corpus in the Criminal District
Court No. 4 of Tarrant County, but that the application has not been forwarded to the Court of
Criminal Appeals even though more than thirty-five days have elapsed.  Relator's contentions present
a colorable claim to have prompt resolution of any grounds raised in such an application.

	It is this Court's opinion that additional information is required before a decision can be
reached.  Therefore, the Respondent, District Clerk of Tarrant County, is ordered to file with this
Court within thirty (30) days a response by submitting the record on such application or a copy of
a timely entered order designating issues to be investigated, see McCree v. Hampton, 824 S.W.2d
578 (Tex. Crim. App. 1992), or by stating the nature of any applications filed by Relator such that
they are not filed pursuant to Tex. Code Crim. Proc. Article 11.07, §&nbsp;3, or that no applications by
applicant have been filed.

	IT IS SO ORDERED this the 26th day of July, 2006.

DO NOT PUBLISH


